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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

  SANDRA CAVADIAS, as the Personal               Case No. 8:19-cv-751-TPB-AAS
  Representative of the ESTATE OF
  ARESTIDES CAVADIAS,

        Plaintiff,

  v.

  UNITED STATES OF AMERICA,

       Defendant.
  _______________________________/


                                  MEDIATION REPORT

        The Mediation in this cause was conducted on April 21. 2021 via Zoom. All

  parties were represented by counsel, and a full and complete settlement of the

  case was reached.

        Respectfully submitted this 22nd day of April, 2021.


                                          /s/ Gary H. Larsen
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  Copies provided to counsel
  of record through the Court=s
  CM/ECF filing system
